Case 4:07-cv-05944-JST Document 2780 Filed 09/02/14

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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

IN RE: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION,

This Documents Relates To:

ALL ACTIONS

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Master File No. 3:07-cv-05944-SC
MDL No. 1917

ADMINISTRATIVE MOTION FOR
ORDER PERMITTING THE
DEPOSITION OF LEO MINK TO BE
COMPLETED BY JANUARY 30, 2015

ADMINISTRATIVE MOTION FOR ORDER RE TIMING OF LEO MINK’S DEPOSITION

(Master File No. CV-07-5944-SC)

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Pursuant to Civil Local Rule 7.11, the Attorney General of the State of California on
behalf of the State of California Plaintiffs, joined by the Direct Purchaser Plaintiffs, the Indirect
Purchaser Plaintiffs, and the Direct Action Plaintiffs (hereafter “Plaintiffs”), hereby respectfully
move this Court for an order permitting Plaintiffs to complete Mr. Leo Mink’s deposition
pursuant to the Hague Convention on the Taking of Evidence in Civil and Commercial Matters
(“Hague Evidence Convention”) by January 30, 2015 and deeming any testimony obtained
through any such examination as timely. Additional time is required for the relevant authorities
in the Netherlands, specifically the presiding Court of Oost-Brabant, to appoint a commissioner
pursuant to the Hague Evidence Convention to commence the requested examination of Mr. Leo
Mink. Mr. Mink is a Dutch national and a former employee of the Philips defendants in this
action, Koninklijke Philips N.V. (“KPNV”) and Philips Electronics North America Corporation.
He resides in the Netherlands. The Philips defendants do not object to this request. Declaration
of Emilio E. Varanini (“Varanini Decl.”) at § 3. A proposed order accompanies this request.

This administrative motion arises from two administrative motions previously granted by
this Court for the issuance of two formal requests for international judicial assistance from the
Netherlands in obtaining Mr. Mink’s oral testimony pursuant to the Hague Convention on the
Taking of Evidence in Civil and Commercial Matters (“Hague Evidence Convention’). Varanini
Decl. at 3. This Court issued the first Request for International Judicial Assistance on January
31, 2014, which the Attorney General’s Office promptly transmitted to the relevant authorities in
the Netherlands. See Docket Nos. 2327, 2328, 2361, and 2362. But in late March 2014, the
Attorney General’s Office was informed by the Netherlands’ Central Authority that a second
request was needed due to the misfiling of the first request. See Docket Nos. 2518 and 2519.
This Court issued the second Request on April 11, 2014 (Docket Nos. 2530 and 2531), which the
Attorney General’s Office also promptly transmitted to the relevant authorities in the Netherlands,
Varanini Decl. at § 4.

In late May 2014, the Court of Oost-Brabant notified the Attorney General’s Office that it
will provide the international judicial assistance twice requested by this Court. Jd. at 95. The

Court of Oost-Brabant also notified the Attorney General’s Office of the individual appointed as
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Commissioner to oversee the requested process, as required by the Hague Evidence Convention.
Id. The Attorney General’s Office later received information that shortly after the appointment
was made, the appointed Commissioner submitted a request for withdrawal due to a conflict of
interest in that she is a partner at the Dutch law firm De Brauw, Blackstone, Westbroek N.V.,
which is the same law firm representing Koninklijke Philips N.V. in Europe. Jd. The Court of
Oost-Brabant has not yet issued a ruling on this withdrawal request or appointed a new
Commissioner. See ibid at § 6. The Attorney General’s Office has contacted the Court of Oost-
Brabant several times concerning the pending withdrawal request and the need for a new
Commissioner in order to commence the requested process. /d. The Attorney General’s Office
also has arranged for its agent in the Netherlands to follow up on this request.' Jd. The Attorney
General’s Office also has been in communication with Mr. Mink’s counsel concerning the
execution of this Court’s formal request for international judicial assistance and the Court of
Oost-Brabant’s willingness to assist. /d. at §.7. The Attorney General’s Office understands that
the parties have reached an understanding concerning the necessary next steps, one of which is
the appointment of a new Dutch Commissioner. Jd. at § 7.

Thus, while the process for obtaining Mr. Mink’s deposition abroad was initiated eight
months ago in January 2014 (see Docket Nos. 2327, 2328, 2361, 2362, 2518, 2519, 2530, and
2531), the actual examination cannot be conducted before September 5, 2014. The Attorney
General has good reasons to believe that the actual examination will occur by January 30, 2015.
Varanini Decl. at § 8. The Attorney General submits that any such examination would not be
disruptive to the state or federal schedules in this case nor otherwise work an injustice as to the
parties in preparing for dispositive motions or for trial. Jd. at § 9; cf SEC v. Sandifur, 2006 WL
3693611, *4-5 (W.D. Wash. No. C05-1636 C Dec. 11, 2006) (analyzing whether resorting to
Hague Convention processes was impractical given trial schedule). The proposed deadline of
January 30, 2015 not only affords the Dutch authorities the time necessary to effectuate this

Court’s formal requests but also ensures that the requested examination will be completed before

' The Attorney General’s Dutch agent is currently on holiday and is scheduled to return on
September 12, 2014. (See Varanini Decl., 6.)

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the pre-trial conference in the federal matter. /d. In the meantime, the Attorney General submits
that no motion or other event need be stayed pending Mr. Mink’s examination. /d.

Finally, comity requires that this process be allowed to take its course and should Mr.
Mink’s examination occur after the current discovery cutoff date, the testimony should be deemed
timely because the process under the Hague Evidence Convention for obtaining this examination
commenced well within the current discovery schedule—in January 2014. See Docket Nos.
2327, 2328, 2361, 2362, 2518, 2519, 2530, and 2531. And comity supports respect for the Dutch
authorities’ desire to effectuate this process. See In re Urethane Antitrust Litig., 267 F.R.D. 361,
364 (D. Kan. 2010); see also Societe Nationale Industrielle Aerospatiale v. United States Dist.
Ct., 482 U.S. 522, 547 (1987) (“American courts should therefore take care to demonstrate due
respect for any special problem confronted by the foreign litigant on account of its nationality or
the location of its operations, and for any sovereign interest expressed by a foreign state.”)
Moreover, in order to withdraw a pending request, the Netherlands require a formal request for
withdrawal from the requesting authority. See the Netherlands’ statement on the practical

operation of the Hague Evidence Convention at http://travel.state.gov/content/travel/english/legal-

considerations/judicial/country/netherlands. html.

For the reasons stated, the requested order should be granted so that comity could be
perfected with respect to this Court’s formal Request for International Judicial Assistance in

obtaining Mr. Mink’s testimony pursuant to the Hague Evidence Convention.

Dated: September 2, 2014 Respectfully submitted,

KAMALA D. HARRIS
Attorney General of California

/s/ Emilio Varanini
EMILIO VARANINI
Deputy Attorney General
Attorneys for the State of California

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